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       CHER, Individually and as
   8   Trustee of The Veritas Trust
   9                        UNITED STATES DISTRICT COURT
  10                      CENTRAL DISTRICT OF CALIFORNIA
  11                                  WESTERN DIVISION
  12   CHER, individually and as Trustee of    )     Case No. 2:21-CV-08157 JAK (RAOx)
       The Veritas Trust,                      )
  13                                           )
                             Plaintiff,        )     FIRST AMENDED COMPLAINT
  14                                           )     FOR DECLARATORY RELIEF; AND
             v.                                )     BREACH OF CONTRACT
  15                                           )
       MARY BONO, individually and as          )     DEMAND FOR JURY TRIAL
  16   Trustee of the Bono Collection Trust,   )
       and DOES 1 through 10, inclusive,       )
  17                                           )
                             Defendants.       )
  18                                           )
                                               )
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   1         Plaintiff Cher (“Plaintiff”) alleges:
   2                              JURISDICTION AND VENUE
   3         1.     The Court has jurisdiction of this action pursuant to 28 U.S.C. §§ 1331
   4   and 1338(a), insofar as it arises under the Copyright Act of 1976, 17 U.S.C. §§ 101 et
   5   seq., including by requiring the interpretation of the Copyright Act and the scope,
   6   meaning, and effect of the statutory termination provisions of 17 U.S.C. § 304(c), and
   7   because federal principles should control the claim.
   8         2.     Alternatively, the Court has jurisdiction of this action pursuant to 28
   9   U.S.C. § 1332(a) insofar as it is between citizens of different States and the matter in
  10   controversy exceeds the sum or value of $75,000, exclusive of interest and costs.
  11         3.     The Court has supplemental jurisdiction of the State law claim pursuant
  12   to 28 U.S.C. § 1367(a) insofar as it is so related to the federal claim in this action that
  13   it forms part of the case or controversy under Article III of the United States
  14   Constitution.
  15         4.     Venue is proper in this District under 28 U.S.C. § 1400(a), insofar as
  16   defendants or their agents, including, without limitation, Wixen Music Publishing,
  17   Inc. (“Wixen”), reside or may be found here, or, alternatively, under 28 U.S.C. §
  18   1391(b)(1), insofar as at least one defendant resides in this District and all defendants
  19   are residents of the State of California, or, alternatively, under 28 U.S.C. § 1391(b)(2),
  20   insofar as a substantial part of the events or omissions giving rise to the claims
  21   occurred in this District, or, alternatively, under 28 U.S.C. § 1391(b)(3), insofar as at
  22   least one defendant is subject to the Court’s personal jurisdiction here.
  23                                       THE PARTIES
  24         5.     Plaintiff is an individual domiciled in Los Angeles County, California,
  25   and the Trustee of The Veritas Trust, a California trust formerly known as The
  26   Inshallah Trust.
  27   ///
  28   ///
                                                     1
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   1         6.     Plaintiff is informed and believes, and upon that basis alleges, that
   2   defendant Mary Bono is an individual domiciled in Colorado and the Trustee of The
   3   Bono Collection Trust.
   4         7.     Plaintiff is presently unaware of the true names and/or the involvement
   5   of the defendants sued herein by the fictitious designations Does 1-10 and for that
   6   reason sues them by those designations. Plaintiff will seek leave of Court to amend
   7   this pleading to identify those defendants when their true names and involvement in
   8   the infringements hereinafter described are known.
   9                                BACKGROUND FACTS
  10                               Plaintiff and the Music that
  11                            She and Sonny Bono Made Famous
  12         8.     Plaintiff is a world-renowned Grammy, Oscar, Emmy, and Golden Globe
  13   award-winning singer, recording artist, and actor.
  14         9.     In or about 1964, Plaintiff and the late Salvatore (“Sonny”) Bono began
  15   performing together as the musical group, Sonny and Cher. They married in 1967 and
  16   during their marriage they achieved unparalleled success as a musical duo and
  17   television personalities. Among other things, they publicly performed and recorded
  18   multiple hit musical compositions – including musical compositions written, co-
  19   written, or acquired by Sonny during their marriage – and starred in their own
  20   television series. They performed and recorded numerous classic popular musical
  21   compositions during their marriage, including, by way of example only, I Got You
  22   Babe, The Beat Goes On, Baby Don’t Go, Little Man, and Bang Bang.
  23         10.    When they divorced, Plaintiff and Sonny agreed to an equal division of
  24   their community property and, to that end, in 1978 Sonny irrevocably assigned to
  25   Plaintiff, as her sole and separate property throughout the world and in perpetuity,
  26   fifty percent of their rights in musical composition royalties, record royalties, and
  27   other assets. Since 1978, Plaintiff has been the unchallenged owner of her fifty percent
  28   of all musical composition and record royalties to which Plaintiff and Sonny were
                                                   2
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   1   entitled by reason of their collaboration and marriage, including fifty percent of all
   2   royalties that Sonny, his businesses, and his successors, receive from those musical
   3   compositions and recordings.
   4         11.    This action has become necessary because now, more than forty years
   5   after Plaintiff received her fifty percent ownership of her and Sonny’s community
   6   property, Sonny’s fourth wife and widow, defendant Mary Bono, claims that a wholly
   7   inapplicable statutory termination provision of the Copyright Act of 1976, 17 U.S.C.
   8   §§ 101 et seq., has undone Plaintiff’s ownership of her royalties from the songs and
   9   recordings that she and Sonny made famous during their marriage, and deprived
  10   Plaintiff of other long-established rights under the 1978 agreement.
  11                                Plaintiff and Sonny’s 1978
  12                            Marriage Settlement Agreement
  13         12.    On or about February 1, 1974, Plaintiff and Sonny separated and in 1975
  14   their marriage was dissolved by the California Superior Court in an action for marital
  15   dissolution, subject to the disposition of Plaintiff and Sonny’s community property.
  16         13.    On or about August 10, 1978, Plaintiff and Sonny entered into a written
  17   Marriage Settlement Agreement, which is expressly governed by California law and
  18   was subsequently approved by the California Superior Court in their marital
  19   dissolution action.
  20         14.    In paragraphs (9) and (10) of their Marriage Settlement Agreement, they
  21   agreed to the equal division of their community property. To accomplish that equal
  22   division, in paragraph (10) of their Marriage Settlement Agreement Sonny assigned
  23   to Plaintiff, as her sole and separate property, an undivided fifty percent interest in
  24   various community properties they owned as of their February 1, 1974, separation.
  25         15.    In paragraphs (10)(a), (b), and (c) of their Marriage Settlement
  26   Agreement, Sonny assigned to Plaintiff an undivided fifty percent of all contingent
  27   receipts after July 14, 1978 (the “Record Royalties”), pursuant to recording contracts
  28   entered into prior to their separation (the “Recording Contracts”), with the record
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   1   companies Atlantic Recording Corporation, York Records, Imperial Records, Liberty
   2   Records, and MCA Records, Inc. (the “Record Companies”), and Sonny also agreed
   3   that Plaintiff has the right to elect to have her fifty percent of Record Royalties paid
   4   directly to her.
   5         16.     Further, in paragraph (10)(d) of their Marriage Settlement Agreement
   6   Sonny assigned to Plaintiff, as her sole and separate property, an undivided fifty
   7   percent interest in, among other things, all of Sonny’s right, title, and interest,
   8   individually or through any business, corporation, firm, or entity in which he had an
   9   interest (referred to as his “other business” or “other businesses”), the contingent
  10   receipts that he and his other business received after July 14, 1978, “from all sources
  11   perpetually and throughout the world” (the “Composition Royalties”), from musical
  12   compositions and interests in musical compositions that he wrote in whole or part
  13   and/or acquired prior to their February 1, 1974, separation (collectively, the “Musical
  14   Compositions”).
  15         17.     Sonny also agreed to account, or to cause others to account, directly to
  16   Plaintiff for her fifty percent of share of the Composition Royalties, after deduction of
  17   a ten percent administration fee paid to a worldwide administrator or administrators
  18   chosen by Sonny. In addition, Sonny agreed that Plaintiff has the right to approve all
  19   other agreements with third parties respecting the Musical Compositions and
  20   Composition Royalties that are the subject of paragraph (10)(d), with her approval not
  21   to be unreasonably withheld.
  22         18.     The Marriage Settlement Agreement expressly binds the two parties’
  23   respective heirs and assigns. Also, Sonny specifically agreed in paragraph (10)(d) that
  24   his successors in interest, his assigns, and all third parties with whom he or any of his
  25   other businesses contract, are subject to Plaintiff’s rights as set forth in that paragraph
  26   (10)(d).
  27         19.     In the years following Plaintiff’s and Sonny’s 1978 Marriage Settlement
  28   Agreement, Plaintiff received sums that Sonny or his designees represented were
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   1   Plaintiff’s fifty percent of all Record Royalties and Composition Royalties
   2   (collectively, the “Royalties”) that Sonny or his other businesses received, directly or
   3   indirectly, and, to the best of Plaintiff’s knowledge and belief, Sonny and his other
   4   businesses honored Plaintiff’s approval and other rights under the Marriage
   5   Settlement Agreement.
   6                 Sonny’s 1998 Death and His Estate’s Confirmation of
   7                 Plaintiff’s Ownership of Fifty Percent of the Royalties
   8         20.    In January 1998, Sonny died from injuries suffered in a skiing accident.
   9         21.    Shortly after his death, a probate action was initiated in the California
  10   Superior Court and his widow, defendant Mary Bono, was appointed the administrator
  11   of his Estate. Pursuant to California law, Ms. Bono, as administrator of the Estate,
  12   had the right to approve creditor’s claims.
  13         22.    In July 1998, Plaintiff caused to be filed in the probate action her
  14   creditor’s claim, raising Sonny’s obligations to her under the Marriage Settlement
  15   Agreement, including but not limited to the obligation to pay and account to her for
  16   monies due under paragraph (10) of the Marriage Settlement Agreement and which
  17   include Plaintiff’s fifty percent of the Royalties.
  18         23.     In July 1999, Ms. Bono, as administrator of the Estate, caused to be filed
  19   in the probate action the written agreement reached with Plaintiff regarding Plaintiff’s
  20   creditor’s claim (the “Agreement re Creditor’s Claim”).          In the Agreement re
  21   Creditor’s Claim:
  22                (a)     Ms. Bono “acknowledge[d] Plaintiff’s interest in certain
  23         ongoing royalties relating to the assets inventoried in this estate as Items
  24         1 through 4 on Attachment 2 of the Final Inventory and Appraisement
  25         filed herein on March 17, 1999,” Item 1 of which is “Music portfolio
  26         assets including royalties and publishing rights”;
  27                (b)    Plaintiff confirmed that her creditor’s claim was limited “to
  28         her ongoing rights under the terms and conditions of the [Marriage
                                                     5
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   1            Settlement Agreement], and the judgment entered in the subject marital
   2            dissolution proceeding,” that Sonny was not in breach of the Marriage
   3            Settlement Agreement, and that, in the course of administering the Estate,
   4            Ms. Bono had disbursed to Plaintiff her share of the Royalties as provided
   5            in the Marriage Settlement Agreement.
   6                    (c)   Ms. Bono and Plaintiff agreed, “[i]n recognition of Plaintiff’s
   7            continuing right to receive such royalty interests, and in the interests of the
   8            heirs of the estate, … to cooperate in developing a mutually acceptable
   9            mechanism for the collection and proper disbursement of such royalties to
  10            Cher and to the heirs after the closing of this estate.”
  11   The Agreement re Creditor’s Claim filed in the probate action includes and ends with
  12   Ms. Bono’s express approval, as administrator of the Estate, of Plaintiff’s creditor’s
  13   claim.
  14             The Estate’s 1999 Distribution of its Assets, Subject to Plaintiff’s
  15                  Ownership of Fifty Percent of the Royalties, to Sonny’s Heirs
  16            24.     In August 1999, the probate court entered its Order Approving First and
  17   Final Account and Report and:
  18                    (a)   Confirmed that all creditor’s claims have either been
  19            approved, compromised, or settled;
  20                    (b)   Confirmed that the residue of the Estate included the “Music
  21            portfolio assets including royalties and publishing rights” referenced in
  22            the Agreement re Creditor’s Claim; and
  23                    (c)   Directed that the residue be distributed to Sonny’s heirs,
  24            namely Ms. Bono, Chesare Bono, Chianna Bono, Christy Bono, and
  25            Chastity (Chaz) Bono (the “Heirs”).
  26            25.      Following the Heirs’ receipt of their distributions in 1999, Plaintiff
  27   received sums that they or their designees represented were Plaintiff’s fifty percent of
  28   all Royalties they received, directly or indirectly, as her share of community property
                                                      6
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   1   assigned to her under the Marriage Settlement Agreement as her separate property,
   2   and, to the best of Plaintiff’s knowledge and belief, the Heirs honored Plaintiff’s
   3   approval and other rights under the Marriage Settlement Agreement.
   4                                   The Veritas Trust and
   5                                The Bono Collection Trust
   6         26.    In 1990, Plaintiff formed The Veritas Trust, initially known as the
   7   Inshallah Trust, and transferred to herself, as Trustee of that Trust, her undivided fifty
   8   percent ownership of the Royalties, including her rights to receive accountings and
   9   payments with respect to her fifty percent interest.
  10         27.    Plaintiff is informed and believes, and upon that basis alleges, that at
  11   some time prior to April 2011, the Heirs transferred their rights to receive Royalties,
  12   subject to their obligations to pay and account to Plaintiff with respect to her fifty
  13   percent of the Royalties, to The Bono Collection Trust, of which Ms. Bono is the sole
  14   Trustee.
  15                                The 2011 Agreements with
  16                               Wixen Music Publishing, Inc.
  17         28.    In or about April 2011, The Bono Collection Trust and The Veritas Trust
  18   entered into three agreements with Wixen:
  19                (a)    an Administration Agreement providing Wixen a ten
  20         percent commission on publishing income with respect to the Musical
  21         Compositions;
  22                (b)    a Collection Agreement relating to Record Royalties and
  23         certain performance monies and providing Wixen a ten percent
  24         commission with respect to those Record Royalties and performance
  25         monies; and
  26                (c)    a Promotion Agreement providing Wixen a fifteen percent
  27         commission on receipts from opportunities it obtains to exploit Musical
  28         Compositions and other properties that were the community property of
                                                    7
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   1         Plaintiff and Sonny and part of their equal division of their community
   2         property pursuant to the Marriage Settlement Agreement (the “Wixen
   3         Agreements”).
   4         29.    Each of the Wixen Agreements provides for an initial two-year term
   5   followed by successive six-month terms, and also provides that each party has the
   6   right to terminate the Wixen Agreements.          Each agreement also provides that
   7   termination of one of the three agreements terminates them all.
   8         30.    Both the Administration Agreement and Collection Agreement provide
   9   that Wixen shall not be involved in any attempts by The Bono Collection Trust or The
  10   Veritas Trust Copyright Act to terminate transfers of copyrights, recapture copyright
  11   interests, or issue termination notices, with the sole exception that Wixen shall, at the
  12   request of The Bono Collection Trust and The Veritas Trust, assist them in locating
  13   and engaging counsel to provide those services.
  14         31.    Under one or more of the Wixen Agreements, Wixen, after deducting its
  15   commission or commissions, has since April 2011 collected and disbursed to Plaintiff
  16   (or her Trust) sums that Wixen represented constitute Plaintiff’s fifty percent of
  17   Royalties that Sonny assigned to Plaintiff in the Marriage Settlement Agreement as
  18   her share of their community property, and, to the best of Plaintiff’s knowledge and
  19   belief, the Heirs honored Plaintiff’s approval and other rights under the Marriage
  20   Settlement Agreement.
  21               Ms. Bono’s 2016 Notice of the Claimed 17 U.S.C. § 304(c)
  22               Termination of Sonny’s Pre-1978 Music Publishing Grants
  23         32.    Section 304(c) of the Copyright Act of 1976 provides, subject to various
  24   conditions and limitations, that a deceased author’s widow or widower and surviving
  25   children may terminate the deceased author’s grant of a transfer or license of a renewal
  26   copyright or any right under it, executed prior to January 1, 1978.
  27         33.    Plaintiff is informed and believes, and upon that basis alleges, that in or
  28   about 2016, Ms. Bono, with the assistance or participation of Wixen, issued a notice
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   1   of termination(the “Notice of Termination” or “Notice”) to various music publishers
   2   to whom Sonny had granted a transfer or license of the renewal copyrights, or rights
   3   under them, in the Musical Compositions. The Notice identified the music publishers
   4   whose rights are being terminated, and specified various effective dates of termination
   5   ranging from dates in 2018 to 2026.
   6         34.    The Notice of Termination did not purport to terminate any grants to
   7   Record Companies, nor could the Notice have done so.
   8                (a)   The Notice of Termination was not served on the Record
   9         Companies, does not identify any Record Companies as grantees whose
  10         rights are being terminated, and did not purport to terminate any of the
  11         Recording Contracts. As a result, all of the Record Royalties, of which
  12         fifty percent is owned by Plaintiff, are paid pursuant to Recording
  13         Contracts that the Notice did not mention and did not purport to
  14         terminate.
  15                (b)   Also, Section 304(c)(6)(E) provides that termination under
  16         that Section affects only grants of rights that arise under Title 17 of the
  17         United States Code. Sound recordings were not protected under Title 17
  18         until February 15, 1972, when the Copyright Act was amended to extend
  19         federal copyright protection to sound recordings created on or after that
  20         date. However, all of the Recording Contracts and the majority of the
  21         sound recordings created under them, were created prior to February 15,
  22         1972. As a result, their grants were not grants of rights arising under title
  23         17 of the United States Code when the Notice of Termination was issued
  24         in 2016.
  25                (c)   In addition, upon information and belief, all of the
  26         Recording Contracts provide that the sound recordings are works for hire.
  27         If that is the case, their grants cannot be terminated under Section 304(c)
  28   ///
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   1         because that Section expressly excludes from its scope grants as to
   2         copyrights in a work for hire.
   3         35.     The Notice of Termination was issued without Plaintiff’s knowledge or
   4   participation, and Plaintiff never requested that Wixen assist in the issuance of any
   5   Notice of Termination.
   6         36.     Following the 2016 Notice of Termination, Wixen, after deducting its
   7   commission or commissions, has continued to collect and disburse to Plaintiff (or her
   8   Trust) sums that Wixen represented constitute Plaintiff’s fifty percent of Royalties that
   9   Sonny assigned to Plaintiff in the Marriage Settlement Agreement as her share of their
  10   community property, and, to the best of Plaintiff’s knowledge and belief, Ms. Bono
  11   and the other Heirs honored Plaintiff’s approval and other rights under the Marriage
  12   Settlement Agreement.
  13               Defendants’ Claim that Ms. Bono’s § 304(c) Termination of
  14               Music Publishing Grants Also Terminates Plaintiff’s Rights,
  15                Including Her Ownership of Fifty Percent of the Royalties
  16         37.     In or about September 2021, representatives of Ms. Bono and The Bono
  17   Collection Trust advised Plaintiff’s representatives that Ms. Bono and The Bono
  18   Collection Trust contend that the § 304(c) Notice of Termination, by terminating
  19   grants to music publishers that have paid Royalties to The Bono Collection Trust, also
  20   terminates the stream of Composition Royalties that Sonny assigned to Plaintiff in the
  21   1978 Marriage Settlement Agreement and, as a result, Ms. Bono’s statutory
  22   termination ends Plaintiff’s right to those Royalties. Based on that contention, The
  23   Bono Collection Trust has advised Plaintiff that upon the effective dates of Ms. Bono’s
  24   termination of each of the music publisher and other contracts, The Bono Collection
  25   Trust will no longer pay and account to Plaintiff for her fifty percent ownership of the
  26   Composition Royalties that Sonny assigned to Plaintiff in the Marriage Settlement
  27   Agreement as her share of their community property.
  28   ///
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   1         38.    In addition, Ms. Bono and The Bono Collection Trust now contend that
   2   Plaintiff no longer has approval rights with respect to all agreements with third parties
   3   respecting the Musical Compositions and Composition Royalties; no longer is entitled
   4   to direct payment of fifty percent of Record Royalties directly from record companies;
   5   no longer is entitled to object to administration fees in excess of ten percent; and does
   6   not have the right to terminate the Wixen Agreements and, if Plaintiff has that right,
   7   by her 2011 approval of the Wixen Agreements she is deemed to have irrevocably
   8   approved any and all new agreements with Wixen.
   9         39.    Plaintiff disputes each of Ms. Bono’s and The Bono Collection Trust’s
  10   contentions but Ms. Bono and The Bono Collection Trust continue to adhere to their
  11   contentions and, among other things, have claimed and will continue to claim
  12   Plaintiff’s fifty percent of the Composition Royalties, and have ceased honoring
  13   Plaintiff’s full rights under the Marriage Settlement Agreement.
  14                              FIRST CLAIM FOR RELIEF
  15                          (For Declaratory Relief as to Effect of
  16                  17 U.S.C. § 304(c) Termination on Plaintiff’s Rights)
  17                                   (Against Defendants)
  18         40.    Plaintiff refers to and re-alleges each and every allegation contained in
  19   paragraphs 1 through 39, inclusive, above, as if set forth herein.
  20         41.    Section 304(c) provides, inter alia, that termination under that Section is
  21   limited to grants by an author executed prior to January 1, 1978, of rights in renewal
  22   copyrights or rights under renewal copyright; that a Notice of Termination must be
  23   timely served on the grantee or the grantee’s successor in title and recorded with the
  24   Copyright Office; and that “[t]ermination of a grant under this subsection affects only
  25   those rights covered by the grant that arise under the Copyright Act, and in no way
  26   affects rights arising under any other Federal, State, or foreign laws.”
  27   ///
  28   ///
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   1         42.    Plaintiff contends that even if, and to the extent that, the § 304(c) Notice
   2   of Termination is valid and effective:
   3                (a)   The Notice did not terminate, and could not have
   4         terminated, the Marriage Settlement Agreement or its recognition and
   5         confirmation of Plaintiff’s community property, the Marriage Settlement
   6         Agreement’s assignment to her of fifty percent of the Royalties as her
   7         sole and separate property in perpetuity and throughout the world, and
   8         Plaintiff’s other rights under the Marriage Settlement Agreement, or any
   9         of the foregoing;
  10                (b)   The Notice did not terminate, and could not have
  11         terminated, grants executed by Sonny on or after January 1, 1978, of
  12         renewal copyrights, or rights under renewal copyrights, in the Musical
  13         Compositions, and, as a result, has no effect on Plaintiff’s ownership of
  14         fifty percent of all Composition Royalties received pursuant to those
  15         grants;
  16                (c)   The Notice did not terminate Sonny’s grants of rights under
  17         the Recording Contracts, including because the Notice was not served on
  18         the Record Companies and does not identify the Record Companies as
  19         grantees whose rights were being terminated;
  20                (d)   The Notice did not terminate, and could not have
  21         terminated, Sonny’s grants of renewal copyrights, or rights under
  22         renewal copyrights, in the Musical Compositions that he did not author
  23         or co-author but instead acquired prior to July 14, 1978, and, for that
  24         additional reason, has no effect on Plaintiff’s ownership of fifty percent
  25         of all Composition Royalties received pursuant to those grants;
  26                (e)   The Notice did not terminate, and could not have
  27         terminated, Sonny’s grants of rights outside the United States and, for
  28   ///
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   1         that additional reason, has no effect on Plaintiff’s ownership of fifty
   2         percent of all Composition Royalties received pursuant to those grants;
   3                (f)   The Marriage Settlement Agreement’s recognition and
   4         confirmation of Plaintiff and Sonny’s community property, including the
   5         Record Royalties, Musical Compositions, and Composition Royalties, is
   6         not a grant of renewal copyrights, or rights under renewal copyrights,
   7         and, instead, Plaintiff’s fifty percent ownership of Record Royalties,
   8         Musical Compositions, and Composition Royalties arose under State law
   9         and, for that additional reason, are not subject to § 304(c) termination;
  10                (g)   Sonny’s assignment to Plaintiff in the Marriage Settlement
  11         Agreement of an undivided fifty percent ownership of the Royalties is
  12         not a grant of renewal copyrights or rights that arise under the Copyright
  13         Act and, for that additional reason, is not subject to § 304(c) termination;
  14         and
  15                (h)   Plaintiff’s approval rights and other rights under the
  16         Marriage Settlement Agreement, and her termination rights under the
  17         Wixen Agreements, are rights that arise under State law and not rights
  18         that arise under the Copyright Act and, for that additional reason, are not
  19         subject to § 304(c) termination.
  20         43.    Plaintiff further contends that, despite Ms. Bono’s Notice of
  21   Termination, Plaintiff, individually or as the Trustee of The Veritas Trust:
  22                (a)   Continues to own and owns an undivided fifty percent of the
  23         Composition Royalties, from any and all sources, including whether
  24         those sources are music publishers or other companies identified in the
  25         Notice of Termination or others taking their place upon termination of
  26         Sonny’s grants to them;
  27                (b)   Continues to own and owns an undivided fifty percent of the
  28         Record Royalties payable under the Recording Contracts;
                                                  13
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   1               (c)    Continues to have the right to reimbursement and
   2         compensation in the event that Sonny or his successors, including Ms.
   3         Bono, individually or as Trustee of The Bono Collection Trust, has
   4         agreed to, permitted, or allowed administrators to charge, and, in the
   5         calculation of Plaintiff’s fifty percent of Composition Royalties, have
   6         deducted or deduct, administration fees in excess of ten percent;
   7               (d)    Continues to have approval rights as to any and all third
   8         party contracts with respect to the Musical Compositions and Royalties,
   9         including but not limited to any future agreement or agreements with
  10         Wixen;
  11               (e)    Continues to have the right to terminate the Wixen
  12         Agreements as expressly provided in the Wixen Agreement;
  13               (f)    Continues to have the right to disapprove a new agreement
  14         or agreements with Wixen, and the withholding of approval of Wixen is
  15         reasonable, including, without limitation, on the grounds that:
  16                     (1)    Paying Wixen a commission to administer the
  17               Musical Compositions that already are administered by other
  18               music publishers in return for administration fees equal to or in
  19               excess of ten percent, violates the Marriage Settlement Agreement
  20               and exceeds the ability and authority of The Bono Collection
  21               Trust, as successor in interest to Sonny, to select administrators;
  22               and
  23                     (2)    Plaintiff is informed and believes, and upon that basis
  24               alleges, that Wixen, without Plaintiff’s knowledge or consent and
  25               in violation of the terms of the Administration Agreement and
  26               Collection Agreement, has encouraged, aided, and abetted
  27               defendants’ scheme of misusing the Notice of Termination in an
  28               attempt to deprive Plaintiff of her rights and her ownership of her
                                                 14
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   1                fifty percent of Royalties that Sonny assigned to her in the
   2                Marriage Settlement Agreement as her share of their community
   3                property;
   4                (g)   Continues to have approval rights with respect to all other
   5         agreements with third parties respecting the Musical Compositions and
   6         Composition Royalties; and
   7                (h)   Continues to have the right to elect to have her fifty percent
   8         of Record Royalties paid directly to her by record companies.
   9         44.    Plaintiff is informed and believes, and upon that basis alleges, that
  10   defendants dispute the foregoing contentions, and each of them.
  11         45.    A judicial declaration of the respective rights and obligations of Plaintiff
  12   and defendants is necessary and appropriate.
  13                            SECOND CLAIM FOR RELIEF
  14                                 (For Breach of Contract)
  15                                   (Against Defendants)
  16         46.    Plaintiff refers to and re-alleges each and every allegation contained in
  17   paragraphs 1 through 44, inclusive, above, as if set forth herein.
  18         47.    The Marriage Settlement Agreement provides, inter alia, that it is
  19   binding upon, and inures to the benefit, of the parties and their respective heirs and
  20   assigns.
  21         48.    Plaintiff has performed all of her obligations, and satisfied all conditions
  22   to be satisfied by her, under the Marriage Settlement Agreement, except as her
  23   performance and satisfaction are excused by reason of the defendants’ breaches.
  24         49.    Defendants have breached, or anticipatorily breached, or both, the
  25   Marriage Settlement Agreement by:
  26                (a)   Refusing to pay, and directing Wixen not to pay, to Plaintiff,
  27         as Trustee of the Veritas Trust, her undivided fifty percent of the United
  28         States Composition Royalties;
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   1                (b)    Repudiating Plaintiff’s approval rights with respect to all
   2         agreements with third parties respecting the Musical Compositions and
   3         Composition Royalties, including new agreements with Wixen;
   4                (c)    Repudiating Plaintiff’s right to terminate the Wixen
   5         Agreements;
   6                (d)    Agreeing to, permitting, or allowing Wixen and possibly
   7         others to charge administration fees in addition to those administration
   8         fees charged by other music publishers with respect to the same
   9         Composition Royalties, thereby increasing the levels of administration
  10         and increasing the administration fees charged against and deducted from
  11         those Composition Royalties and, as a result, violating the Marriage
  12         Settlement Agreement’s limit on administration fees and reducing the
  13         amount paid to Plaintiff after deduction of those excessive administration
  14         fees; and
  15                (e)    Refusing to honor Plaintiff’s election to have her fifty
  16         percent of Record Royalties paid directly to her, as expressly provided in
  17         the Marriage Settlement Agreement.
  18   The full nature and extent of defendants’ breaches are not presently known and
  19   Plaintiff will, if necessary and appropriate, seek leave of Court to amend this
  20   Complaint to allege all of defendants’ breaches once they are ascertained.
  21         50.    As a direct and proximate result of defendants’ breaches, Plaintiff has
  22   sustained damages, and will continue to sustain damages, in an amount not presently
  23   known but believed to exceed $1,000,000.
  24         51.    Plaintiff is entitled to and requests the imposition of a constructive trust
  25   on the undivided fifty percent of Royalties that she owns but which defendants have
  26   received and failed to pay over to her or instruct that she be paid directly.
  27   ///
  28   ///
                                                   16
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   1                                         PRAYER
   2         WHEREFORE, Plaintiff prays for judgment as follows:
   3         1.     On the First Claim for Relief for declaratory relief against defendants, a
   4   declaration in accordance with plaintiff’s contentions, including as follows, and such
   5   further necessary or proper relief as Plaintiff may request based on that declaration:
   6                (a)   The Notice of Termination did not terminate, and could not
   7         have terminated, the Marriage Settlement Agreement or its recognition
   8         and confirmation of Plaintiff’s community property, the Marriage
   9         Settlement Agreement’s assignment to her of fifty percent of the
  10         Royalties as her sole and separate property in perpetuity and throughout
  11         the world, and Plaintiff’s other rights under the Marriage Settlement
  12         Agreement, or any of the foregoing;
  13                (b)   The Notice did not terminate, and could not have
  14         terminated, grants executed by Sonny on or after January 1, 1978, of
  15         renewal copyrights, or rights under renewal copyrights, in the Musical
  16         Compositions, and, as a result, has no effect on Plaintiff’s ownership of
  17         fifty percent of all Composition Royalties received pursuant to those
  18         grants;
  19                (c)   The Notice did not terminate Sonny’s grants of rights under
  20         the Recording Contracts, including because the Notice was not served on
  21         the Record Companies and does not identify the Record Companies as
  22         grantees whose rights were being terminated;
  23                (d)   The Notice did not terminate, and could not have
  24         terminated, Sonny’s grants of renewal copyrights, or rights under
  25         renewal copyrights, in the Musical Compositions that he did not author
  26         or co-author but instead acquired prior to July 14, 1978, and, for that
  27         additional reason, has no effect on Plaintiff’s ownership of fifty percent
  28         of all Composition Royalties received pursuant to those grants;
                                                  17
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   1               (e)    The Notice did not terminate, and could not have
   2         terminated, Sonny’s grants of rights outside the United States and, for
   3         that additional reason, has no effect on Plaintiff’s ownership of fifty
   4         percent of all Composition Royalties received pursuant to those grants;
   5               (f)    The Marriage Settlement Agreement’s recognition and
   6         confirmation of Plaintiff and Sonny’s community property, including the
   7         Record Royalties, Musical Compositions, and Composition Royalties, is
   8         not a grant of renewal copyrights, or rights under renewal copyrights,
   9         and, instead, Plaintiff’s fifty percent ownership of Record Royalties,
  10         Musical Compositions, and Composition Royalties arose under State law
  11         and, for that additional reason, are not subject to § 304(c) termination;
  12               (g)    Sonny’s assignment to Plaintiff in the Marriage Settlement
  13         Agreement of an undivided fifty percent ownership of the Royalties is
  14         not a grant of renewal copyrights or rights that arise under the Copyright
  15         Act and, for that additional reason, is not subject to § 304(c) termination;
  16               (h)    Plaintiff’s approval rights and other rights under the
  17         Marriage Settlement Agreement, and her termination rights under the
  18         Wixen Agreements, are rights that arise under State law and not rights
  19         that arise under the Copyright Act and, for that additional reason, are not
  20         subject to § 304(c) termination; and
  21               (i)    Despite the Notice of Termination, Plaintiff, individually or
  22         as the Trustee of The Veritas Trust:
  23                      (1)    Continues to own and owns an undivided fifty
  24               percent of the Royalties, from any and all sources, including
  25               whether those sources are music publishers or other companies
  26               identified in the Notice of Termination or others taking their place
  27               upon termination of Sonny’s grants to them;
  28   ///
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   1                     (2)    Continues to have the right to reimbursement and
   2               compensation in the event that Sonny or his successors, including
   3               Ms. Bono, individually or as Trustee of The Bono Collection
   4               Trust, has agreed to, permitted, or allowed administrators to
   5               charge, and, in the calculation of Plaintiff’s fifty percent of
   6               Composition Royalties, have deducted or deduct, administration
   7               fees in excess of ten percent;
   8                     (3)    Continues to have approval rights as to any and all
   9               third party contracts with respect to the Musical Compositions and
  10               Royalties, including but not limited to any future agreement or
  11               agreements with Wixen;
  12                     (4)    Continues to have the right to terminate the Wixen
  13               Agreements as expressly provided in the Wixen Agreement;
  14                     (5)    Continues to have the right to disapprove a new
  15               agreement or agreements with Wixen, and the withholding of
  16               approval of Wixen is reasonable, including, without limitation, on
  17               the grounds that:
  18                            (i)    Paying Wixen a commission to administer the
  19                     Musical Compositions that already are administered by
  20                     other music publishers in return for administration fees
  21                     equal to or in excess of ten percent, violates the Marriage
  22                     Settlement Agreement and exceeds the ability and authority
  23                     of The Bono Collection Trust, as successor in interest to
  24                     Sonny, to select administrators; and
  25                            (ii)   Plaintiff is informed and believes, and upon
  26                     that basis alleges, that Wixen, without Plaintiff’s knowledge
  27                     or consent and in violation of the terms of the
  28                     Administration Agreement and Collection Agreement, has
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   1                      encouraged, aided, and abetted defendants’ scheme of
   2                      misusing the Notice of Termination in an attempt to deprive
   3                      Plaintiff of her rights and her ownership of her fifty percent
   4                      of Royalties that Sonny assigned to her in the Marriage
   5                      Settlement Agreement as her share of their community
   6                      property;
   7                      (6)    Continues to have approval rights with respect to all
   8                other agreements with third parties respecting the Musical
   9                Compositions and Composition Royalties; and
  10                      (7)    Continues to have the right to elect to have her fifty
  11                percent of Record Royalties paid directly to her by record
  12                companies;
  13         2.     On the Second Claim for Relief for breach of contract, damages
  14   according to proof but believed to exceed $1,000,000;
  15         3.     For Plaintiff’s costs of suit and, to the extent permitted by law, reasonable
  16   attorneys’ fees;
  17         4.     For prejudgment interest on all sums awarded; and
  18         5.     For such other and further relief as the Court deems just and proper.
  19
  20   Dated: March 28, 2023                                /s/ Peter Anderson
  21                                                      Peter Anderson, Esq.
                                                         Sean M. Sullivan, Esq.
  22                                                       Eric H. Lamm, Esq.
                                                    DAVIS WRIGHT TREMAINE LLP
  23                                                      Attorneys for Plaintiff
                                                                   CHER
  24                                                  Individually and as Trustee of
                                                             The Veritas Trust
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   1                               DEMAND FOR JURY TRIAL
   2         Plaintiff Cher respectfully demands trial by jury of all issues and claims as to
   3   which there is a right of trial by jury.
   4
   5   Dated: March 28, 2023                              /s/ Peter Anderson
   6                                                    Peter Anderson, Esq.
                                                       Sean M. Sullivan, Esq.
   7                                                     Eric H. Lamm, Esq.
                                                  DAVIS WRIGHT TREMAINE LLP
   8                                                    Attorneys for Plaintiff
                                                                 CHER
   9                                                Individually and as Trustee of
                                                           The Veritas Trust
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